Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 1 of 28




                      EXHIBIT A
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 2 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 1 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 3 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 2 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 4 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 3 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 5 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 4 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 6 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 5 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 7 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 6 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 8 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 7 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 9 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 8 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 10 of 28


     Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 9 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 11 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 10 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 12 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 11 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 13 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 12 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 14 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 13 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 15 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 14 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 16 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 15 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 17 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 16 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 18 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 17 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 19 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 18 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 20 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 19 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 21 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 20 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 22 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 21 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 23 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 22 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 24 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 23 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 25 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 24 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 26 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 25 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 27 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 26 of 27
Case 19-50102-gs   Doc 2326-1   Entered 11/12/20 17:21:07   Page 28 of 28


    Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 27 of 27
